         Case 1:23-cv-08631-DG-VMS Document 4 Filed 11/21/23 Page 1 of 2 PageID #: 28

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

  Marco Rendon; Ashley Salkey; Javonna Jenkins;                   )
 Michael Tucker; Anthony Castillo; Shariff Jamison;               )
Malachi Whyte; Brandon Serrano; and Earon Toliver,                )
on behalf of themselves and others similarly situated,
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 23-cv-8631 DG-VMS
                                                                  )
 Community Mobile Testing, Inc.; and LabQ Clinical                )
               Diagnostics LLC,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Community Mobile Testing, Inc.:
                                       140 58 STREET, BLDG A STE 3L, BROOKLYN, NY 11220

                                       LabQ Clinical Diagnostics LLC:
                                       140 58TH STREET, BLDG A UNIT 3L, BROOKLYN, NY 11220



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Mohammed Gangat, Esq.,
                                       675 Third Avenue, Suite 1810,
                                       New York, NY 10017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           BRENNA B. MAHONEY
                                                                           CLERK OF COURT
                                                                               s/Kimberly Davis
          11/21/2023
Date:
                                                                                       Signature of Clerk or Deputy Clerk
          Case 1:23-cv-08631-DG-VMS Document 4 Filed 11/21/23 Page 2 of 2 PageID #: 29

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
